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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE 05 JU|_ 25 PH 2: 55
Western Division

ll~lClt§/i;§ M. GDU'LD
UNITED sTATEs oF AMERICA G%KDU.S. DtSlRICTOOlBT
OF TN, MEMPHS
-vs- Case No. 2:05cr20226-001Ml

ARGUESS BAKER

 

ORDER OF DETENT|ON PENDING TR|AL
FlND|NGS
ln accordance with the Bail Refonn Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTIONS REGARD|NG DETENT|ON

ARGUESS BAKER is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. ARGUESS BAKER shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding
r___,__.
Date: July 21, 2005 A 5

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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This document entered on the docket sheet !tlc p/
with Ru|e 55 and/or 32(b) FRCrP on 2 925 12§ //

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20226 Was distributed by faX, mail, or direct printing on
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Honorable .l on McCalla
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